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                          EXHIBIT 1
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    8

    9                                     UNITED STATES DISTRICT COURT
   10                                 CENTRAL DISTRICT OF CALIFORNIA
   11                                          WESTERN DIVISION
   12 JUUL LABS, INC., a Delaware                            Case No.
   13
        Corporation,
                                                             DECLARATION OF WITNESS 2 IN
   14                        Plaintiff,                      SUPPORT OF PLAINTIFF’S EX
   15                                                        PARTE APPLICATION FOR ASSET
                  v.                                         FREEZE ORDER, EXPEDITED
   16                                                        DISCOVERY, ORDER
   17 ANDY CHOU (aka LIZHI ZHOU), an                         PERMITTING ALTERNATIVE
        individual; YIWU CUTE JEWELRY                        SERVICE OF PROCESS, AND
   18 CO., LTD., a Chinese limited company;                  ORDER TO SHOW CAUSE RE:
   19 YIWU XITE JEWELRY CO., LTD., a                         PRELIMINARY INJUNCTION
        Chinese limited company; CJ
   20 FULFILLMENT CORP., a California                        Date:
   21 Corporation; CJ TRADE CORP., an                        Time:
        Arizona Corporation; and YIWU                        Courtroom:
   22 PROMOTIONAL TRADE CO., LTD.

   23 (aka YIWU PROMOTION TRADE CO.,
        LTD.), a Chinese limited company,
   24

   25                        Defendants.

   26
                  UNREDACTED VERSION OF DOCUMENT PROPOSED TO BE
   27
                                               FILED UNDER SEAL
   28

        2875.000/1600250.1                                                               Case No.
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    1             I, Jonathan Powell, hereby declare as follows:
    2             1.         I am familiar with the matters set forth in this declaration based upon my
    3 own personal knowledge. If called as a witness, I could and would competently testify

    4 to the following facts.

    5             2.         I submit this declaration in support of Plaintiff JUUL Labs, Inc.’s (“JLI”)
    6 Ex Parte Application for Asset Freeze Order, Expedited Discovery, Order Permitting

    7 Alternative Service of Process, and Order to Show Cause Re: Preliminary Injunction.

    8             3.         I have determined that the purported JUUL Starter Kits and JUUL USB
    9 Charging Docks advertised by and purchased from Defendants (collectively,

   10 “Defendants”) by Matthew N. Hewlett are counterfeit, in that they were not

   11 manufactured by JLI or anyone associated with JLI, as the purported JUUL USB

   12 Charging Docks, and the products sold in these purported JUUL Starter Kits exhibit

   13 characteristics that differ from genuine JLI products, lack elements that are inherent

   14 to genuine JLI products, and also include products that JLI has not sold direct to

   15 consumers in the U.S. since 2019.

   16                                      Experience and Qualifications
   17             4.         I have been the Evidence Specialist at JLI for over two years.
   18             5.         My responsibilities include inspecting and authenticating suspect JUUL
   19 products to determine whether they are counterfeit. I also train private investigators

   20 who work for JUUL on product authentication.

   21             6.         As Evidence Specialist, I have inspected over 90,000 JUUL products.
   22                                  Investigation of Counterfeit Products
   23             7.         As part of our investigation into potentially counterfeit JUUL products
   24 being offered online, Matthew N. Hewlett from Vaudra International made

   25 purchases from Defendants.

   26             8.         JLI found Defendants advertising and offering for sale “JUUL Starter
   27 Kits” online, which included the following purported JUUL products: (a) JUUL

   28 Device; (b) USB Charging Dock; and (c) four JUULpods in Cool Mint, Virginia

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    1 Tobacco, Crème Brulee, and Mango flavors. Notably, in the U.S., JLI has not sold

    2 JUUL Starter Kits that include four JUULpods since November 2018, and has not

    3 sold JUUL Starter Kits at all since November 2019, raising a red flag that these

    4 products were likely counterfeit.

    5             9.         For each purchase of a suspect JUUL Starter Kit from Defendants, the
    6 product was delivered to an address in North Carolina or picked up from

    7 Defendants’ warehouse in New Jersey. Under a stringent chain of custody, some of

    8 the suspect products were then shipped to JLI’s facility at 1000 Illinois Street, San

    9 Francisco, CA 94107, where I have access to all of the information necessary to

   10 evaluate and analyze the products. In other cases, high resolution photographs of the

   11 suspect products were provided to me. I evaluated each product and determined (for

   12 the reasons set forth in the following paragraphs) that every one of these products

   13 was in fact inauthentic.

   14                                       Products from Defendants
   15             10.        Every authentic JUUL Device has a unique serial number engraved on
   16 the back of the device below the JUUL logo. All packaging for authentic JUUL

   17 Devices has a lot code that correlates with the serial number in our database. All

   18 packaging for genuine JUULpods contains a lot code, which appears on both the

   19 outer cardboard packaging and on the foil the pods are sealed in. Each authentic

   20 JUUL product has a Universal Product Code (“UPC”) that is unique to that product

   21 type, and which is printed on the cardboard packaging. These identifiers are

   22 evidence that the product is authentic.

   23             11.        I understand that Mr. Hewlett purchased a total of 135 JUUL Starter
   24 Kits and 5 JUUL USB Charging Docks from Defendants. I also understand that

   25 Defendants only shipped a total of 118 JUUL Starter Kits and 5 JUUL USB

   26 Charging Docks. Defendants sent 23 of the suspect products to Mr. Hewlett in North

   27 Carolina, all of which he then sent to me for inspection and analysis. Defendants

   28 sent 100 JUUL Starter Kits to their warehouse in New Jersey for pick-up. On

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    1 August 20, 2020, the 100 JUUL Starter Kits sent to Defendants’ warehouse in New

    2 Jersey were picked up by James Ricaurte from Allegiance Protection Group, and the

    3 U.S. Department of Homeland Security Investigations, Newark New Jersey – Field

    4 Office (“HIS”). Mr. Ricaurte then sent me high resolution photographs of one

    5 sample of the suspect products which I was able to analyze.

    6             12.        Specifically, I understand that Mr. Hewlett made the following
    7 purchases from Defendants:

    8          Date                           Product                              SKU
              Order
    9          was
              Placed
   10                          (3) JUUL Starter Kits, Silver            CJXFZNZN00104-default
            10/07/19           (2) JUUL Starter Kits, Pink              CJXFZNZN00104-default
   11                          (5) JUUL USB Charging Docks              CJXFLPCD00042-default
   12       12/09/19           (17) JUUL Starter Kits (not received)    CJXFZNZN00104-default
   13
            03/16/20           (100) JUUL Starter Kits                  CJXFZNZN00104-default
   14
            04/08/20           (6) JUUL Starter Kits, Pink              CJXFZNZN00104-default
                               (5) JUUL Starter Kits, Slate             CJXFZNZN00104-default
   15                          (2) JUUL Starter Kits, Silver            CJXFZNZN00104-default
   16             13.        On January 10, 2020, I received the 5 suspect JUUL Starter Kits and 5
   17 suspect JUUL USB Charging Docks Mr. Hewlett ordered on October 7, 2019 from

   18 Defendants. The packaging and each suspect product therein bore one or more of the

   19 JUUL Marks.

   20
                  14.        None of the suspect JUUL Devices had a serial number engraved on
   21
        the back. The packaging for all of the JUUL Devices had an incorrect UPC. The
   22
        cardboard box packaging for the suspect JUULpods showed lot code G0525A. I
   23
        checked the history of this lot code in JLI’s database and found that it corresponded
   24
        to a package of JUULpods that had been made by an authorized manufacturer and
   25
        sold through an authorized retailer in 2018. The font and spacing on the cardboard
   26
        box packaging for the suspect JUUL Starter Kits, JUUL Device, and JUULpods
   27
        differed from authentic JUUL products. None of the foil packaging for the suspect
   28
        JUULpods included a lot code. The foil packaging for the suspect JUULpods had a
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    1 shiny metallic appearance, whereas authentic JUULpods have a matte appearance.

    2 None of the suspect products were authentic JUUL products.

    3             15.        On July 1, 2020, I received the 13 suspect JUUL Starter Kits Mr.
    4 Hewlett ordered on April 8, 2020 from Defendants. Again, the packaging and each

    5 suspect product therein bore one or more of the JUUL Marks. None of the suspect

    6 JUUL Devices had a serial number engraved on the back. The packaging for the two

    7 silver JUUL Devices and the six pink JUUL Devices had an incorrect UPC. The

    8 cardboard box packaging for the suspect JUULpods again showed lot code G0525A.

    9 The font and spacing on the cardboard box packaging for the suspect JUUL Starter

   10 Kits, JUUL Device, and JUULpods differed from authentic JUUL products. None of

   11 the foil packaging for the suspect JUULpods included a lot code. The foil packaging

   12 for the suspect JUULpods had a shiny metallic appearance, whereas authentic

   13 JUULpods have a matte appearance. None of the suspect products were authentic

   14 JUUL products.

   15             16.        On August 26, 2020, I received detailed high resolution photographs of
   16 one sample from the 100 suspect JUUL Starter Kits Mr. Hewlett ordered on March

   17 16, 2020 from Defendants. This is one acceptable protocol for authenticating

   18 suspect JUUL products. The suspect JUUL Devices both had the same serial

   19 number engraved on the back, H4X6P2UF, and the same lot code on their cardboard

   20 packaging, G0808A04. I checked the history of this serial number in JLI’s database

   21 and found that it corresponded with an authentic JUUL Device, but did not match

   22 the lot code on the packaging. Besides the fact that this serial number was on more

   23 than one device when it should be unique, I am aware that this particular serial

   24 number has been found on more than 100 counterfeit JUUL Devices uncovered

   25 through other investigations. The cardboard box packaging for the suspect

   26 JUULpods showed lot code G0717GG-3. Font and spacing on the cardboard box

   27 packaging for the suspect JUUL Starter Kits, JUUL Device, and JUULpods differed

   28 from authentic JUUL products. The foil packaging for the suspect JUULpods had a

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    1 shiny metallic appearance, whereas authentic JUULpods have a matte appearance.

    2 None of the suspect products were authentic JUUL products.

    3             17.        The suspect JUUL products sold by Defendants are clearly counterfeit,
    4 in that they were not manufactured by JLI, due to the many differences between

    5 them and authentic JUUL products. These differences include, but are not limited to:

    6                   a. The JUUL Device has either no engraved serial number or multiple
    7                        JUUL Devices have the same engraved serial number;
    8                   b. The lot code on some of the suspect JUUL Device packaging does not
    9                        match the serial number on the suspect JUUL Devices contained
   10                        therein;
   11                   c. Some of the suspect JUUL Devices have an incorrect UPC;
   12                   d. Some of the foil packaging for the JUULpods has no lot code;
   13                   e. The foil packaging for the suspect JUULpods has a shiny metallic
   14                        appearance, whereas authentic JUULpods have a matte appearance; and
   15                   f. The font and spacing on the cardboard box packaging for the suspect
   16                        JUUL Starter Kits, JUUL Device, and JUULpods differ from authentic
   17                        JUUL products.
   18                                                   *****
   19             18.        In summary, all of the products listed above and purchased from
   20 Defendants share various distinctive characteristics and/or lack distinctive

   21 characteristics that distinguish them from genuine products manufactured by JLI. It

   22 is therefore my firm conclusion that all of the suspect products sold by Defendants

   23 are counterfeit.

   24

   25

   26

   27

   28

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